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   maliciously proceeded to wrongfully expel Plaintiff John Doe on the basis of the above-

   referenced false allegations, despite the fact that Defendant Jane Doe herself provided a

   signed statement to the NYPD stating that



                                                      Ex., E. Defendants violated Plaintiff

   John Doe’s statutorily and constitutionally protected civil rights by discriminating against

   him based on his gender and ethnicity and failing to provide him due process pursuant to

   Riverdale Country School’s policies and procedures. Defendants’ actions, omissions,

   errors, flawed procedures, and/or negligence resulted in an arbitrary and capricious

   decision to expel Plaintiff John Doe from Riverdale Country School.

2. Plaintiff John Doe is         at Riverdale Country School. He is a great student who is

   actively involved on campus. Defendant Jane Doe is                  at Riverdale Country

   School.




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3. Defendant Michele Owens is a very successful, licensed, clinical psychologist in New

   York City. Defendant Owens is on the board for Early Steps, a well-known not-for-profit

   organization that works with all the New York City private schools. Defendant Owens is

   also a senior psychologist for Prep for Prep, another powerful not-for-profit organization

   in New York City that also works with all the New York City private schools.



                                                                                On or about

   October 2017, Defendant Owens contacted Defendant Riverdale Country School and

   informed the school that Defendant Jane Doe had allegedly disclosed that Plaintiff John

   Doe had                      Defendant Jane Doe. Given Defendant Owens high powerful

   position in the private school community, Defendant Riverdale Country School and its

   employees exclusively relied on her report and acted swiftly without conducting a proper

   inquiry into the false allegations.

4. Defendants Riverdale Country School referred the matter to the NYPD. The NYPD

   conducted a full investigation into the allegations, including interviewing Defendant Jane

   Doe. In her interview with the NYPD, Defendant Jane Doe stated on the record that

   Plaintiff John Doe                                                See Withdrawal

                             Ex. C. The NYPD’s investigation concluded with the finding

   that the allegations against Plaintiff John Doe were baseless. The NYPD forwarded their

   findings to Defendant Riverdale Country School and closed the case.

5. Rather than close the school’s case, much like the NYPD did because the allegations

   against Plaintiff John Doe were baseless, Defendant Riverdale Country School and its

   employees, Defendant Randolph, Nicholson-Flynn, Choi, and Torres jointly and



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   severally and maliciously proceeded to expel Plaintiff John Doe for the false allegations.

   They stood by this false claim despite Defendant Jane Doe’s statements that Plaintiff

   John Doe                                            Defendants Riverdale Country School,

   and its employees, Defendant Randolph, Nicholson-Flynn, Choi, and Torres provided no

   evidence to back up the already proven false allegations.

6. Plaintiff John Doe submitted additional evidence to Defendant Riverdale Country School

   and its employee, Defendant Randolph which further refuted allegations of sexual

   harassment already confirmed to be false by Defendant Jane Doe. Moreover, Plaintiff

   John Doe submitted evidence demonstrating that Defendant Jane Doe had previously

   engaged in sexual harassment against him.

7. Defendant Riverdale Country School and its employees, Defendants Randolph,

   Nicholson-Flynn, Choi, and Torres ignored the overwhelming evidence in the record and

   made an arbitrary and capricious decision to expel Plaintiff John Doe.

8. Plaintiffs bring this action to seek this Honorable Court to respectfully order Defendant

   Riverdale Country School to reinstate Plaintiff John Doe at Riverdale Country School

   because the decision to expel him was arbitrary and capricious and violates New York

   CPLR Article 78. Plaintiffs also seek injunctive and punitive relief due to Defendants

   violations of Plaintiff John Doe’s statutorily and constitutionally protected rights under,

   but not limited to, Title IX, 42 U.S. Code § 1983, New York Executive Law Section

   296(4), and New York Civil Rights Law Section 40-C to be free from discrimination

   based on gender and ethnicity. Plaintiffs additionally bring this action because

   Defendants actions amounted to breach of contract, violation of the covenant of good

   faith and fair dealings, deceptive trade practices, negligence and several other tortious



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   spring and summer break from school. Plaintiffs                             both contribute

   financially to Plaintiff John Doe’s education and are obligated by contract with

   Defendant Riverdale Country School.

13. Defendant Riverdale Country School is an elite co-educational college-preparatory

   school in New York City. Riverdale Country School offers its students a unique

   curriculum and issues grades on a yearly basis. It is located in the Riverdale section of

   the Bronx, New York. Riverdale Country School is accredited by the New York State

   Association of Independent Schools (“NYSAIS”).

14. Defendant Dominic A.A. Randolph is the Head of School for Riverdale Country School.

15. Defendant Kelley Nicholson-Flynn is the Head of the Upper School for Riverdale

   Country School.

16. Defendant Julie Choi is the Dean of Students               for Riverdale Country School.

17. Defendant Miguel Torres is Middle School and Upper School Counselor for Riverdale

   Country School.

18. Defendant Michele Owens is a highly successful private, licensed clinical psychologist in

   New York City. Defendant Owens is on the board for Early Steps, a powerful not-for-

   profit organization that works with all New York City private schools. Defendant Owens

   is also a senior psychologist for Prep for Prep, another powerful not-for-profit

   organization in New York City working exclusively with private schools. Defendant

   Owens has a strong professional ties with the top New York City private schools

   including, Riverdale Country School.



19. Defendant Jane Doe is                                at Riverdale Country School.



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        Defendant Jane Doe receives averages grades




                 FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

I.      Relevant Background Information of Riverdale Country School

     20. Defendant Riverdale Country School is an elite private educational institution focused on

        preparing its students for enrollment into the nation’s top ranked universities. The present

        day institution traces its origins to the Riverdale School for Boys, which was established

        in 1907 by Frank Hackett. In 1933 the Riverdale Girls School was founded. In 1972, the

        schools were combined to form a single school.

     21. Defendant Riverdale Country School is currently ranked number 28 on the list of Best

        Private High Schools in America. See Ex. MM

     22. Defendant Riverdale Country School is one of the most expensive private educational

        institution in New York City with the collective cost of tuition and ancillary academic

        fees totaling $52,050 for the academic year of 2017-2018.

     23. Defendant Riverdale Country School’s high tuition cost yields numerous benefits for

        parents and students. Defendant Riverdale Country School offers small class sizes,

        including a student to faculty ratio of 5:1, unique curriculum (See Ex. KK), and 80% of

        the faculty hold advanced degrees.

     24. Defendant Riverdale Country School boasts an impressive alumni record and a powerful

        list of successful individuals on the board of trustees. Defendant Riverdale Country

        School’s notable alumni and affiliates contribute to the school’s $63.3 million



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             endowment.

       25. Students who graduate from Riverdale Country School most commonly attend top

             colleges and universities including, Ivy Leagues such as: Cornell University, University

             of Pennsylvania, Columbia University, and Dartmouth College.



 II.         Non-Profit Status and Government Funding

       26. Defendant Riverdale Country School is a charitable, not-for-profit 501(c) 3, tax-exempt

             organization. See Ex. RR.

       27. Because of its not-for-profit status, Defendant Riverdale Country School enjoys tax

             exemptions from local, state, and federal governments.

       28. Furthermore, Defendant Riverdale Country School’s not-for-profit status permits it to

             receive tax exemptions. Defendant Riverdale Country School has received bond interest

             tax exemptions amounting to more than $800,000. See Ex. QQ.

       29. Defendant Riverdale Country School has received federal grants to implement academic

             projects such as language programs. See Ex. PP.

       30. In 2014, Riverdale Country School received $580,000 in government grants. See Ex. OO.



III.         History of the Relationship Between Plaintiff John Doe and Defendant Jane Doe

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      56.



      57. Within the same week Plaintiff John Doe found himself charged with horrific accusations

            of                which were allegedly never even made by Defendant Jane Doe, but

            Defendants Riverdale Country School and Defendants Randolph, Nicholson-Flynn, Choi,

            Torres, as well as Defendant Owens made the false allegation of                  against

            Plaintiff John Doe which ultimately led to his unjust and improper expulsion from

            Riverdale Country School.



IV.         Improper and Unlawful School Action

      58. On or about October 27, 2017, Plaintiff John Doe was removed from his class by

            Defendant Choi and escorted to Riverdale Country School’s administrative office

            stripped of his phone over his protest, was told he could not call or speak to anyone, and

            was held in the nurse's office.

      59. Plaintiff            was also called into school and a meeting was held with her son,

            Milton J. Sipp (Assistant Head of School) and Defendants Choi, Nicholson-Flynn.

      60. The only information that Mr. Sipp and Defendants Choi, Nicholson-Flynn disclosed to

            Plaintiff          and Plaintiff John Doe was that Defendant Jane Doe made serious

            allegations against Plaintiff John Doe and the school would report it to the New York

            Police Department and New York City Administration for Children’s Services, but no

            specific allegations were given.

      61. Mr. Sipp and Defendants Nicholson-Flynn and Choi stated that Plaintiff John Doe was

            being removed from school for “protection purposes” until the allegations made by



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   that when the NYPD interviewed Defendant Jane Doe, she stated on the record that




68. On or about November 6, 2017, Defendants Randolph, Nicholson-Flynn, Choi invited

   Plaintiff          and Plaintiff John Doe to a meeting at Riverdale Country School.

   Defendants Randolph, Nicholson-Flynn, and Choi led Plaintiff              and Plaintiff

   John Doe to believe that the meeting was a “safe space” to discuss and understand the

   extent of Plaintiff John Doe and Defendant Jane Doe’s relationship.

69. On the contrary, the discussion was an interrogation of Plaintiff John Doe by Defendants

   Randolph, Nicholson-Flynn, and Choi. Rather than accept the fact that the NYPD

   concluded that the allegations against Plaintiff John Doe were baseless, Defendants

   Randolph, Nicholson-Flynn, and Choi accused Plaintiff John Doe of the same         alleged

   incidents of sexual harassment against Defendant Jane Doe, but

                                                      saying they were not addressing that

   anymore.

70. Plaintiff John Doe told Defendants Randolph, Nicholson-Flynn, and Choi that he did not

   remember specifically doing the      alleged incidents. Some of the conduct seemed like

   behavior Plaintiff John Doe would engage in but he could not definitely say he did or did

   not participate in that conduct on the specific time and place that Defendants Randolph,

   Nicholson-Flynn and Choi were asking about, and certainly not in the manor they

   described. In other words, he might have engaged in that type of conduct but he wasn’t

   sure if he engaged in it on the specific days and times they were asking about. In regards

   to some of the other incidents Defendants Randolph, Nicholson-Flynn and Choi asked



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   Plaintiff John Doe about, he flatly denied them saying it's not the type of conduct he

   would participate in.

71. Three individual meetings took place that day between the parties.

72. The first meeting was with Defendants Randolph, Nicholson-Flynn, Choi and Plaintiffs

             and John Doe. Defendants Randolph, Nicholson-Flynn, and Choi told Plaintiff

             that the school would not examine




73. Instead, Defendants Randolph, Nicholson-Flynn, and Choi were focused on interrogating

   Plaintiff John Doe about the conduct of Fall 2017 allegations of sexual harassment they

   alleged he committed against Defendant Jane Doe, regardless of her statement otherwise

   to the NYPD that it was untrue.

74. These allegations consisted of



75. Plaintiff John Doe stated he could not remember specific incidents or times Defendant

   Randolph, Nicholson-Flynn, and Choi ask about, but some of the conduct they asked

   about Plaintiff John Doe did participate in consensually with Defendant Jane Doe. In

   regards to the other allegations, Plaintiff John Doe flatly denied them, stating that it’s not

   conduct that he would engage in.

76. The discussion ensued into the cultural norms of

   Defendant Nicholson-Flynn was extremely upset and made a point to say that this wasn’t

   the culture                   Defendant Nicholson-Flynn took an aggressive tone and

   made it very clear, that



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77. Defendant Riverdale Country School’s Family Handbook states: “Individuals involved in

   physical intimacy may not continue unless they have received affirmative consent.

   Affirmative consent is knowing, voluntary and mutual decision among all participants to

   engage in sexual activity. Consent can be given by words or actions, as long as those

   words or actions create clear permission regarding willingness to engage in the sexual

   activity.” See Riverdale Country School Family Handbook 2017-2018 at 16, Ex. GG.

78. Plaintiff John Doe had both forms of consent, words and actions, prior to and at the time

   of the alleged incidents and that Defendant Jane Doe had never revoked consent with him

   regarding their interactions

79. Defendant Nicholson-Flynn deviated from Defendant Riverdale Country School’s

   policies and procedures on consent and implemented her own views.

80. However, in the present matter, Plaintiff John Doe always had consent from Defendant

   Jane Doe in their interactions. It was improper for Defendant Nicholson-Flynn to

   implement her own policy on Plaintiff John Doe and then accuse him of violating rules of

   consent, especially since he made it very clear that he always had consent from

   Defendant Jane Doe when interacting with her in any way.

81. After the first meeting was over, Plaintiff John Doe was very upset and crying and

   Defendant Choi took him to her office in which she held a private meeting with him

   without his mother, Plaintiff

82. Defendant Choi told Plaintiff John Doe that Defendants Randolph and Nicholson-Flynn

   were not convinced of the “stuff he said in there.” Defendant Choi made anecdotes such

   as “If I spill paint in someone’s driveway it's obvious, I did it. I would remember I did it,



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   Defendant Choi told Plaintiff John Doe if he did not go back in there and “admit you did

   those things, the worst outcome will happen to you.” She implied several times that if

   Plaintiff John Doe did not admit to the conduct then he would be expelled.

83. Plaintiff John Doe was crying and confused as to why Defendant Choi was adamant

   about having him admit to the conduct. Plaintiff John Doe knew the allegations could not

   have come from Defendant Jane Doe because he always received consent before

   interacting with her in any way.

84. While the specific details and of the events presented to Plaintiff John Doe by Defendants

   Randolph, Nicholson-Flynn, and Choi did not match what he remembered, he knew that

   him and Defendant Jane Doe played around often but it was always consensual.




85. Plaintiff John Doe clearly articulated to Defendants Randolph, Nicholson-Flynn, and

   Choi that the                                              Defendants Randolph,

   Nicholson-Flynn, and Choi told Plaintiff John Doe that Defendant Jane Doe did not want

   to                                   Plaintiff John Doe flatly denied it and offered to

   show recent text messages from Defendant Jane Doe showing her continued consent



86. Defendants Randolph, Nicholson-Flynn, and Choi took this out of context. Plaintiff John

   Doe had admitted that some of the conduct they described happened but he was very



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     clear that it was consensual                                   However, Defendants

     Randolph, Nicholson-Flynn, and Choi misconstrued his reply and took it to mean that he

     was admitting to                         sexual harassment, which he was not.

 87. Plaintiff John Doe was very clear that he never sexually harassed Defendant Jane Doe

     and denied the allegations Defendants Randolph, Nicholson-Flynn, and Choi made

     against him. Plaintiff John Doe maintained that he always had consent from Defendant

     Jane Doe




V.   Failure to Follow Riverdale Country School’s Outlined Policies

 88. Riverdale Country School outlines its policies and procedures for dealing with allegations

     of sexual harassment in the Riverdale Country School Family Handbook 2017-2018

     (“Handbook”). See Ex. GG. The Handbook declares:

            “The School is committed to taking all reasonable measures promptly to prevent

            and correct harassing/bullying behavior. Upon receipt of any complaint of

            harassment/bullying, the School will promptly investigate the complaint. The

            investigation may include interview of the complainant, the alleged offender, and

            others. It may also include other methods, such as utilizing outside counsel or an

            independently appointed investigation firm. In addition, other investigative

            measures including but not limited to, viewing emails, text messages,

            photographs, and social media pages or apps may be employed. The School will

            try to be as discreet as possible during an investigation and confidentiality will be



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           maintained to the extent possible given the facts and circumstances of the

           complaint and the need to do a fair and thorough investigation. The School,

           however, has a legal obligation to act on all information it receives if it believes

           an individual may be engaging in wrongful conduct or violating the law.” See

           Handbook 2017-2018 at 17.

89. Defendant Riverdale Country School and its employees, Defendants Randolph,

   Nicholson-Flynn, and Choi failed to follow the policies and procedures for investigating

   allegations of harassment outline in the Handbook.

90. Defendant Riverdale School and its employees, Defendant Randolph, Nicholson-Flynn,

   and Choi did not conduct an initial investigation on the matter. Rather, Defendant

   Riverdale Country School and its employees, Defendants Randolph, Nicholson-Flynn,

   and Choi called Plaintiff             and John Doe into the school’s office and informed

   them that Plaintiff John Doe would be removed from school while withholding any and

   all relevant details as to why Plaintiff John Doe was being removed from school.

91. By not disclosing any pertinent facts or details relating to the allegations against Plaintiff

   John Doe, Defendant Riverdale Country School and its employees, Defendants

   Randolph, Nicholson-Flynn, and Choi wrongfully deprived Plaintiffs of their due process

   right to adequately respond to the allegations.

92. Defendant Randolph was aware of the NYPD’s findings that the allegations against

   Plaintiff John Doe were baseless.

93. Pursuant to the Handbook, Defendant Riverdale Country School and its employees were

   required to give weight to the findings made by the NYPD.

94. After the NYPD concluded that Plaintiff John Doe did not                       Defendant



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   Jane Doe, Defendant Randolph should have immediately reinstated Defendant Jane

   Doe’s right to attend school, apologize to him, and discipline any and all individuals that

   were involved in fabricating the allegation against Plaintiff John Doe pursuant to the

   Handbook.

95. The Handbook is clear on disciplinary measures taken against individuals who make false

   allegations of harassment stating:

           “The School recognizes that false accusations of harassment can cause serious

           harm to innocent persons. If an investigation results in a finding that the

           complainant knowingly or maliciously accused another person falsely of

           harassment/bullying, the complainant will be subject to disciplinary action”

           Handbook at 19.

96. Instead of closing the case against Plaintiff John Doe, much like the NYPD did due to the

   fact that the allegations were baseless, Defendant Riverdale Country School and its

   employees, Defendants Randolph, Nicholson-Flynn, and Choi continued to act on the

   fabricated allegations against Plaintiff John Doe and further prosecuted him.

97. In the meeting on November 6, 2017, Defendants Randolph, Nicholson-Flynn, and Choi

   told Plaintiff John Doe that Defendant Jane Doe was not comfortable with playing or

   joking around with him and that she had requested that he stop.

98. Plaintiff John Doe offered to show Defendant’s Randolph, Nicholson-Flynn, and Choi

   text messages he had showing that Defendants Jane Doe and him had an amicable

   relationship as recent as a couple days leading up to the day Defendant Riverdale Country

   School and its employees, Defendant Randolph, Nicholson-Flynn, Choi, and Torres

   removed him from school.



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      99. Per the Handbook, Defendant Riverdale Country School and its employees, Defendants

         Randolph, Nicholson-Flynn, Choi, and Torres were obligated to review any and all

         relevant text messages between Plaintiff John Doe and Defendant Jane Doe in

         investigating the allegations.

      100. However, Defendant Riverdale Country School and its employees, Defendants

         Randolph, Nicholson-Flynn, Choi, and Torres purposely and/or negligently ignored

         Riverdale Country School’s Family Handbook on investigations of harassment and

         conducted a kangaroo court over the fabricated allegations against Plaintiff John Doe.



VI.      Failure to Accept Law Enforcement and Judiciary Findings

      101. After Defendant Riverdale Country School notified NYPD of the allegations made

         against Plaintiff John Doe, the NYPD opened up an investigation on the matter on or

         about October 28, 2017.

      102. Defendant Jane Doe was interviewed by the NYPD and questioned about the allegations

         against Plaintiff John Doe.

      103. On or about October 28, 2017, Defendant Jane Doe voluntarily completed a

                                             stating:




      104. Upon concluding the investigation the detective completed a police report which stated:




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105. This police report conclusively proved that not only were the allegations against

   Plaintiff John Doe baseless, but it was completely and utterly fabricated by the

   Defendants.

106. Upon receiving the police report, Defendant Randolph was obligated to: (1) reinstate

   Plaintiff John Doe back into Riverdale Country School; (2) provide a formal apology to

   Plaintiffs; and (3) conduct an investigation into who initiated the fabricated allegations

   against Plaintiff John Doe pursuant to the Handbook.

107. Instead, Defendant Randolph in collusion with Defendants Nicholson-Flynn, Choi, and

   Torres circumvented the Handbook and rejected the NYPD’s findings and further

   prosecuted Plaintiff John Doe by expelling him for the fabricated allegations against him.

108. On or about November 22, 2017, Plaintiff John Doe




109. On the same day, based on the text messages, the same ones Defendant Riverdale

   Country School refused to reviewed, and statements by Plaintiff John Doe,




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       110. Defendant Riverdale Country School continues to fail to recognize that not only has the

          NYPD found all the allegations false against Plaintiff John Doe to be false, but also the



                                                          See Exs. D, I.



VII.      Failure to Accept Evidence and Properly Investigate or Speak to John Doe’s

          Witnesses

       111. Pursuant to the Handbook, Riverdale Country School may interview “the complainant,

          the alleged offender, and others.” Handbook at 17.

       112. After Defendants Randolph, Nicholson-Flynn, and Choi notified Plaintiffs              and

          John Doe that he would be dismissed from Riverdale Country School, Plaintiff John

          Doe’s friends and fellow students as well as parents who had knowledge of the nature of

          the relationship between Plaintiff John Doe and Defendant Jane Doe wrote letters to

          Defendant Randolph. See Exs. U-CC

       113. Counsel for Plaintiffs sent to Defendant Randolph the parent and student letters in

          support of Plaintiff John Doe as well as evidence consisting of



                                        proof that is was actually Defendant Jane Doe that harassed

          Plaintiff John Doe.

       114. Defendant Randolph indicated that he would review the additional above-referenced

          evidence submitted by Plaintiffs’ counsel and forward the matter completely to counsel

          for Riverdale Country School.



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        115. When Plaintiff’s counsel, spoke to Defendant’s counsel he refused to look at the

           evidence submitted and requested additional evidence specifically from the fall of 2017

           from Plaintiff John Doe.

        116. Thereafter, Plaintiffs’ counsel submitted a nineteen page letter and a thirty-four page

           evidence package which: (1) provided ample evidence proving the allegations against

           Plaintiff John Doe were baseless fabrications; (2) demonstrated that Defendant Jane Doe

           was in fact the person guilty of sexual harassment; and (3) called for the immediate

           reinstatement of Plaintiff John Doe back into Riverdale Country School.

        117. Within hours of receiving the nineteen page letter and evidence package, Defendants’

           counsel sent Plaintiffs’ counsel a one-page letter claiming that Plaintiffs’ counsel did not

           send relevant communications from the semester between Defendant Jane Doe and

           Plaintiff John Doe, a completely untrue statement by Defendants’ counsel. See Ex. FF.

        118. Defendants’ counsel also stated that Plaintiffs’ counsel’s evidence package contained



        119. It was apparent that Defendants’ counsel had not reviewed the evidence package closely

           because if he did, Defendant’s counsel would have realized that



        120. The failure of Defendants’ counsel to properly evaluate the pertinent evidence regarding

           the false allegations against Plaintiff John Doe is imputed onto Defendants given that

           Defendants’ counsel was operating as the investigative body for Defendants.



VIII.      Gender Bias and Discrimination at Riverdale Country School

        121. Defendant Riverdale Country School regularly and routinely upholds sexist and



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   patriarchal gender roles and traditional values. These values stems back to the school’s

   founding as it was an all-boys school for the first two decades of its establishment. When

   Riverdale Country School finally established a girls school two decades after the boys

   school, it kept the two schools separate. Riverdale Country School only integrated the

   girls’ schools into the boy's school in 1972, more than six decades after its establishment.

122. Although Defendant Riverdale Country School presents itself as a modern, progressive

   thinking educational institution, its archaic gender normative ethos is pervasive

   throughout the entire school, including the faculty’s teaching techniques, the school’s

   athletic programs, and manner in which the administration disciplines boys and girls.

123. Given the Defendant Riverdale Country School's archaic approach to gender norms,

   Defendants Randolph, Nicholson-Flynn, Choi, and Torres immediately labeled Plaintiff

   John Doe as the offender before even reviewing a shred of evidence

124. Defendant Riverdale Country School and its employees assign male students the role of

   instigator and pigeonhole female students as passive participants in any and all sexual

   activity. This ideology asserts that women can have no active role in their own sexual

   experiences, and must always be acted upon instead of with.

125. This outlook of upholding traditional gender roles is especially acute in the school’s

   athletic department.

126. Each year, student athletes are given a survey at the end of each sports season covering a

   multitude of criteria aimed at improving the sports programs. This year, surveys

   completed by the female athletes cited displeasure with what they felt were

   discriminatory practices at the hands of the school, the athletic department, at the

   direction and leadership of Athletic Director John Pizi.



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      127. Female student-athletes at Riverdale Country School stated that in comparison to their

         male counterparts they suffer from a lack of proper equipment, poor maintenance of the

         fields, diminished practice time, inadequate support from staff, and a low emphasis on

         college recruiting instruction and guidance.

      128. Female student-athletes cited that male teams, in contrast were given not only adequate,

         but new equipment in abundance. Coaches were brought in for specific positions and

         skills training for male athletes.

      129. The boy’s teams were provided with new uniforms, while girl’s teams were given old,

         mismatched, or ill-fitting uniforms. One female varsity team was given ill-fitting see

         through shorts to compete in.

      130. This entrenchment in traditional gender roles at Defendant Riverdale Country School

         has been made very plain by the egregious mishandling of Plaintiff John Doe and

         Defendant Jane Doe's                                    Defendant Riverdale Country

         School and its employees, Defendant Randolph, Nicholson-Flynn, Choi, Torres

         discriminated against Plaintiff John Doe on the basis of his gender and ethnicity and

         reached an arbitrary and capricious decision by expelling him from school.



IX.      Past Discrimination and Injustices at Riverdale Country School

      131. In a series of cases dating back to the 1970s, there is wealth of jurisprudence in which

         courts rely on the enactment of 42. U.S.C. § 1981, not only to desegregate private

         schools, but to also protect private school children from unequal treatment, discipline,

         and or/benefits based on a protected classes such as ethnicity and gender.

      132. Defendant Riverdale Country School’s demographic is far less diverse than its private



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   school counterparts in Bronx – Horace Mann and Fieldston.

133. In 2013, Defendant Riverdale Country School was sued for “espousing a sham

   ‘diversity’ program that actually only sought to enroll full-paying Asians...” School on

   Trial, New York Post, June 17, 2013.

134. Attorney Ed Hayes representing Riverdale’s former Headmaster - Mr. Hendon-Brown,

   noted in a reference to Defendant Riverdale Country School, “there’s just one problem

   with that place,” he said “They discriminate!” Id

135. Defendant Riverdale Country School has a reputation for having an ethos of appearing

   liberal but in reality upholding the status quo in terms of racial and gender privilege.

136. Defendant Riverdale Country School’s policy “prohibits any and all forms of

   discriminatory practices, including but not limited to, harassment based on...any other

   category protected by law.” See Handbook at 15. (emphasis added).

137. Although public school students have stronger protections from expulsion than those

   afforded to private school students, the fact that Defendant Riverdale Country School’s

   policy claims to protect students from harassment or discrimination based on all

   categories protected under law binds Defendant Riverdale Country School with the

   protections afforded for public school students.

138. While anti-bullying statutes apply to public schools, courts have in fact stretched anti-

   bullying laws to private school students when possible. See Jacques G. Simon v.

   Bellmore-Merrick, 39 N.Y. 2d 167 [1976].

139. The public policy trend to bind private schools to anti-bullying statutes has strengthened

   in recent years. The New York legislative body is currently in the process of expanding

   New York anti-bullying laws to include private schools. See New York Bill S.6438-



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     Hoylman/A.7738-O’Donnell.



X.   Two Tiered Disciplinary System

 140. Defendant Riverdale Country School has established a two-tiered justice system in

     which students from wealthy families are not disciplined for violating school policy but

     students on scholarship and/or minority students are severely punished when they are

     even perceived to violate any school policies.

 141. There is one set of rules for the children whose parents are on the board and/or donate

     large sums of money, and another for students on financial aid and/or minority students.

 142. Students have reported having seen certain board member’s children taking drugs in the

     hallway, known as “juuling” in gym class, continuously skipping class on test days, and

     showing up late to class. This apparently goes on with the knowledge and consent of

     Riverdale Country School staff and faculty.

 143.




 144. The student body mock’s Riverdale Country School’s social media account by

     highlighting the “two tiered justice system at Riverdale.”

 145. Riverdale Country School students refer to a “D.A.A.R. starter pack” on social media

     which mock’s the school’s position of: “We can’t suspend him, his mother is on the

     board!”

 146. This case is yet another example of Defendant Riverdale Country School’s unequal



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   justice system unjustly disciplining one student because his family is not a wealthy donor

   of the school.

147. Plaintiff John Doe is primarily raised by his single-mother in New York City. Plaintiffs

                             pay for Plaintiff John Doe’s education in full but work hard and

   struggle to provide such an education and are not donors or on the board of trustees for

   Riverdale Country School.

148. Furthermore, Plaintiff John Doe                     and as such is an ethnic minority at

   Riverdale Country School.

149.

                                                     Given that Defendant Owens is

   extremely influential in the private school arena, including at Riverdale Country School,



150. When Defendant Owens reported that

                                    to Defendant Riverdale Country School, the school

   immediately acted on the allegations on the strength of Defendant Owens influence and

   power.

151. Plaintiff John Doe does not have a wealthy parent or influential donor to protect his

   interests at Riverdale Country School, so Defendant Riverdale Country School had no

   reservations to                                    dispose of him.

152. To make matters worse, because Defendant Owens has such a strong influence with all

   of the top New York City private school, Plaintiff John Doe cannot easily transfer to

   another private high school because she has                          and managed to get him

   expelled from Riverdale Country School.



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      153. Plaintiff John Doe must prevail in this action because if he does not, he will unfairly be

                          and will not be able to attend a comparable private high school in New

         York City.



XI.      Arbitrary and Capricious Decision

      154. In the initial meeting that Mr. Sipp along and Defendants Choi and Nicholson-Flynn

         held with Plaintiff John Doe and Plaintiff           , the school officials stated that there

         were serious allegations made against Plaintiff John Doe but refused to provide much

         detail beyond that.

      155. It wasn’t until Plaintiff          spoke with the detective from the NYPD who was

         investigating the matter, per the school’s referral of the matter, that Plaintiffs John Doe

         and             became aware of the extent and nature of the allegations made against

         Plaintiff John Doe.

      156. Defendant Torres provided a statement to the NYPD alleging that




                                                        See                               Ex. A

      157. Defendant Owens also provided a statement to the NYPD alleging that:



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                                                 See                               Ex. B.

158. The NYPD interviewed                           on October 28, 2017 to which

             stated that:




159. Defendant Jane Doe made it clear to the detective and memorialized her statement in

   writing, with the presence of her mother, that



160. The NYPD subsequently closed the case and concluded that the allegations against

   Plaintiff John Doe were unfounded.

161. Rather than terminate the school’s case, Defendant Riverdale Country School and its

   employees, Defendants Randolph, Nicholson-Flynn, Choi, and Torres continued to

   prosecute Plaintiff John Doe for the fabricated allegations stating that Plaintiff John Doe

   sexually harassed Defendant Jane Doe, despite her statement otherwise.

162. Plaintiff John Doe refuted these allegations. Plaintiffs’ counsel submitted ample

   evidence to Defendants Riverdale Country School and its employees,

   Randolph, Nicholson-Flynn, Choi, and Torres demonstrating Plaintiff John Doe’s

   innocence and that Defendant Jane Doe was in fact culpable of sexually harassing

   Plaintiff John Doe but the School refused to review it.

163. Defendant Riverdale Country School and its employees, Defendants Randolph,

   Nicholson-Flynn, Choi, and Torres made the decision to expel Plaintiff John Doe on the

   alleged basis that



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164. Defendant Riverdale Country School and its employees, Defendants Randolph,

   Nicholson-Flynn, Choi, and Torres ignored the policies and procedures clearly outlined

   in the Handbook because: (1) Plaintiff John Doe was never provided a full and fair

   investigation; (2) they ignored the relevant evidence including, the NYPD police report,

   the letters from Plaintiff John Doe’s friends and their parents attesting to the consensual

   nature of Plaintiff John Doe and Jane Doe’s relationship; (3) they refused to investigate

   the allegations Plaintiff John Doe made against Defendant Jane Doe regarding the acts of

   sexual harassment committed against him (4) Refused to review and acknowledge that



165. The evidence in this matter overwhelmingly proves that Plaintiff John Doe did not

   violate the rights or harass Defendant Jane Doe.

166. Defendant Riverdale Country School and its employees’ decision to expel Plaintiff John

   Doe have no factual or logical basis. The decision was arbitrary and capricious and a

   violation of Plaintiff John Doe and Plaintiff                            rights.



                                   COUNT ONE
             Violation Title IX of the Education Amendments of 1972
            (As to Defendant Riverdale Country School, Dominic A.A.
         Randolph, Kelley Nicholson-Flynn, Julie Choi, and Miguel Torres)

167. The allegations set forth in paragraphs 1-166 are repeated and incorporated as if fully set

   forth herein.

168. Title IX of the Education Amendments of 1972 states, in relevant part, that:

           No person in the United States Shall, on the basis of sex, be excluded from

           participation in, be denied the benefits of, or be subjected to discrimination under

           any education program or activity receiving Federal financial assistance.

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169. Title IX of the Education Amendments of 1972 is a comprehensive law and is

   applicable to an entire educational institution if any segment of the school receives

   federal funds.

170. Defendant Riverdale Country School has received federal grants and funding on several

   occasions. See Exs. OO-QQ.

171. The Department of Education as well as the Department of Justice have promulgated

   regulations under Title IX that require a school to “adopt and public grievance procedures

   providing for the prompt and equitable resolution of student…complaints alleging any

   action which would be prohibited by” Title IX or regulations under. 34 C.F.R. § 106.8(b)

   (Dep’t of Education); 28 C.F.R. § 54.135(b) (Dep’t of Justice).

172. Such prohibited actions include all forms of sexual harassment,

                                         See U.S. Dep’t of Education, Office for Civil

   Rights, Revised Sexual Harassment Guidance: Harassment of Students by School

   Employees, Other Students, or Third Parties – Title IX (2001) at 19-20, 21 & nn. 98-101.

173. Moreover, the procedures and standards adopted by a school subject to Title IX must not

   only “ensure the Title IX rights of the complainant,” but must also “accord due process to

   both parties involved…” Id at 22.

174. A school covered by Title IX has an obligation to ensure that all employees involved in

   the procedural process have “adequate training as to what conduct constitutes sexual

   harassment,                                           ” Id. at 21.

175. Defendants Riverdale Country School, Randolph, Nicholson-Flynn, Choi, and Torres

   jointly and severally violated Title IX by intentionally discriminating against Plaintiff

   John Doe on the basis of his gender by knowingly



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                                     Despite the fact that the NYPD conducted a full

   investigation on the allegations against Plaintiff John Doe and concluded that the

   allegations were baseless, Defendants Riverdale Country School and its employees,

   Defendants Randolph, Nicholson-Flynn, Choi, and Torres not only failed to close their

   internal investigation against Plaintiff John Doe, but they maliciously engaged in gender

   based harassment.

176. Defendants Riverdale Country School, Randolph, Nicholson-Flynn, Choi, and Torres

   actions to continue to prosecute, intimidate, and harass Plaintiff John Doe after the

   NYPD had cleared him of the false allegations were deliberate and malicious. By

   removing Plaintiff John Doe from school on the erroneous grounds of fabricated

                       Defendants Riverdale Country School and its employees, Defendants

   Randolph, Nicholson-Flynn, Choi, and Torres jointly and severally denied Plaintiff John

   Doe equal access to Riverdale Country School’s resources and opportunities, thereby

   preventing him from his right to education pursuant the contract between Defendant

   Riverdale Country School and Plaintiffs.

177. Plaintiff John Doe suffered from student-on-student gender based harassment and

   misconduct from Defendant Jane Doe through gender based harassment and defamation

   by falsely alleging that

178.




                       Defendants Riverdale Country School and its employees,

   Randolph, Nicholson-Flynn, Choi, and Torres failed to even investigate these allegations



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   let alone reprimand Defendant Jane Doe for her sexual harassment.

179. Plaintiffs provided ample evidence supporting the assertion that Plaintiff John Doe

   suffered sexual harassment from Defendant Jane Doe, but Defendants Riverdale Country

   School and its employees, Defendant Randolph, Nicholson-Flynn, Choi, and Torres

   ignored his claims.

180. Defendants Riverdale Country School and its employees Defendant Randolph,

   Nicholson-Flynn, Choi, and Torres actions to ignore Plaintiff John Doe’s allegations of

   sexual harassment against Defendant Jane Doe while at the same time punish Plaintiff

   John Doe for sexual allegations made by Defendant Jane Doe, even after the NYPD

   cleared him of said allegations, shows the severity of gender based discrimination that

   Defendants engaged in.

181. Defendants Riverdale Country School and its employees, Defendant Randolph,

   Nicholson-Flynn, Choi, and Torres engaged in deliberate and malicious gender based

   discrimination against Plaintiff John Doe by removing Plaintiff John Doe from school

   due to false allegations                 without conducting a full and fair investigation.

182. Defendants Riverdale Country School, Randolph, Nicholson-Flynn, Choi further

   discriminated against Plaintiff John Doe based on his male sex gender when they invited

   him and Plaintiff           into a meeting on November 6 th and proceeded to again bring

   up false allegations against him and while claiming that they would not address

                 Defendants Randolph, Nicholson-Flynn, and Choi pressured Plaintiff John

   Doe to admit to the consensual conduct he engaged with Defendant Jane Doe then and

   claimed that he sexually harassed Defendant Jane Doe based on that admission.

   Defendants Randolph, Nicholson-Flynn, and Choi disregarded the fact that Plaintiff John



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   Doe and Defendant Jane Doe’s interactions were always consensual. Defendants

   Riverdale Country School through its employees, Defendants Randolph, Nicholson-

   Flynn, and Choi purposely and maliciously misconstrued Plaintiff John Doe and

   Defendant Jane Doe’s consensual interactions in order to expel Plaintiff John Doe.

183. Moreover, Defendant Nicholson-Flynn injected her cultural bias towards

   people by condescendingly telling Plaintiff          and Plaintiff John Doe that




184. Defendant Choi further discriminated against Plaintiff John Doe at the meeting by taking

   the position that since he was the boy, he must have been the sexual aggressor. The

   flawed and discriminatory belief that because Plaintiff John Doe was a boy and

   Defendant Jane Doe was a girl, he must have been the sexual aggressor was the driving

   force behind the unlawful actions that Defendants Riverdale Country School and its

   employees, Defendant Randolph, Nicholson-Flynn, Choi, and Torres took against

   Plaintiffs.

185. In addition to ignoring the NYPD’s report clearing Plaintiff John Doe from

                                            Defendants Riverdale Country School and its

   employees, Defendant Randolph, Nicholson-Flynn, Choi, and Torres ignored ample

   evidence submitted by Plaintiffs’ counsel which included, letters from witnesses stating

   that Plaintiff John Doe and Defendant Jane Doe’s relationship was consensual.

186. Defendant Riverdale Country School and its employees, Defendants Randolph,

   Nicholson-Flynn, Choi, and Torres also ignored




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187. Defendants Riverdale Country School and its employees, Defendant Randolph,

   Nicholson-Flynn, Choi, and Torres continued to discriminate against Plaintiff John Doe

   by refusing to reinstate him back to Riverdale Country School and by




188. As a result of Defendant Riverdale Country School’s sanctioned gender based

   harassment and gender based discrimination, Plaintiff John Doe was denied his right to

   education, suffered extreme emotional distress, and his reputation has been irreparably

   harmed.

189. As a result of the foregoing, Plaintiffs are entitled to damages for past acts of gender

   based harassment and defamation in an amount to be determined at trial, plus

   prejudgment interest, attorneys’ fees, expenses, costs and disbursements.



                                      COUNT TWO
         Violation of 42 U.S. Code § 1983 – Civil Action for Deprivation of Rights
       (As to Defendants Owens, Riverdale Country School, Dominic A.A. Randolph,
                  Kelley Nicholson-Flynn, Julie Choi, and Miguel Torres)

190. The allegations set forth in paragraphs 1-189 are repeated and incorporated as if fully set

   forth herein.

191. 42 U.S. Code § 1983 declares that:

           Every person who, under color of any statute, ordinance, regulation, custom, or

           usage, of any State or Territory or the District of Columbia, subjects, or causes to

           be subjected, any citizen of the United States or other person within the

           jurisdiction thereof to the deprivation of any rights, privileges, or immunities

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          secured by the Constitution and laws, shall be liable to the party injured in an

          action at law, suit in equity, or other proper proceeding for redress, except that in

          any action brought against a judicial officer for an act or omission taken in such

          officer’s judicial capacity, injunctive relief shall not be granted unless a

          declaratory decree was violated or declaratory relief was unavailable.

192. Defendant Riverdale Country School’s Handbook gives school officials the color of

   authority when protecting the rights of students or undertaking disciplinary measures:

       ● “Riverdale prohibits any and all forms of discriminatory practices….and any

          other category protected by law.” Handbook at 15.

       ● “The School, however, has a legal obligation to act on all information it receives

          if it believes an individual may be engaging in wrongful conduct or violating the

          law.” Id at 17.

       ● “If the School’s investigation determines that                      occurred, and if

          there is reason to suspect that                                        constitutes a

          criminal act, the Head of the School or the Chair of the Board of Trustees shall

          immediately report this determination to the appropriate law enforcement

          authorities, which shall include the New York City Police Department and the

          Bronx County District Attorney.” Id at 19.

193. Defendant Owens and Defendant Riverdale Country School and its employees,

   Defendants Randolph, Nicholson-Flynn, Choi, and Torres were acting under the color of

   law when they made a false report to the NYPD stating that

                                            Defendants Riverdale Country School and

   employees, Defendants Randolph, Nicholson-Flynn, Choi, and Torres did not conduct a



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   full and fair hearing before alerting the NYPD of these false allegations.

194. Defendant Riverdale Country School and its employees, Defendants Randolph,

   Nicholson-Flynn, Choi, and Torres knew or should of know the allegations were false

   before making such a serious allegation to the NYPD. By reporting fabricated allegations



                                     Defendant Owens and Defendant Riverdale Country

   School and its employees, Defendants Randolph, Nicholson-Flynn, Choi, and Torres

   violated Plaintiff John Doe’s constitutionally and statutorily protected civil rights by

   subjecting him to discrimination based on his gender and ethnic background.

195. Moreover, after the NYPD conducted a full and fair investigation and concluded that the

   allegations against Plaintiff John Doe were unfounded, Defendant Riverdale Country

   School and its employees, Defendant Randolph, Nicholson-Flynn, Choi, and Torres

   continued to harass and violate Plaintiff John Doe’s right to be free from discrimination

   by expelling John Doe based on the false allegations.

196. Defendant Owens and Defendant Riverdale Country School and its employees,

   Defendants Randolph, Nicholson-Flynn, Choi, and Torres constitutional abuses and

   violations were directly and proximately caused by discriminatory views that




197. Defendants’ collective and individual actions consisting of false allegations that

                                                      led to Defendant Riverdale Country

   School and its employees, Defendants Randolph, Nicholson-Flynn, Choi, and Torres

   further violating Plaintiffs constitutionally protected fundamental rights by expelling him



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   due to fabricated allegations that

198. As a result of the foregoing, Plaintiffs are entitled to damages for past acts of gender

   based harassment, discrimination based on gender and ethnic background in an amount to

   be determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.



                                COUNT THREE
               Violation of New York Executive Law Section 296(4)
            (As to Defendant Riverdale Country School, Dominic A.A.
         Randolph, Kelley Nicholson-Flynn, Julie Choi, and Miguel Torres)

199. The allegations set forth in paragraphs 1-199 are repeated and incorporated as if fully set

   forth herein.

200. New York Executive Law, Article 15, Human Rights Law, section 296(4) states in

   relevant part:

           It shall be an unlawful discriminatory practice for an education corporation or

           association…to permit the harassment of any student or applicant by reason of his

           race, color, religion, disability, national origin, sexual orientation, military status,

           sex, age, or marital status.

201. Defendants Riverdale Country School and its employees, Defendant Randolph,

   Nicholson-Flynn, Choi, and Torres, violated New York Executive Law, Article 15,

   Human Rights Law, section 296(4), by intentionally and purposely discriminating against

   Plaintiff John Doe on the basis of his male sex gender by:

                    (2) notifying the NYPD of the allegations yet failing to accept the police

   department's findings that Plaintiff John Doe did not

         (3) operating under an unjust and irrational belief that because Plaintiff John Doe is

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   a male and Defendant Jane Doe is a female, Plaintiff John Doe must be the offender even

   though evidence showed otherwise; (4) fabricating false



                                  (5) telling Plaintiff John Doe and Plaintiff           that

             forms of expression are not acceptable in the U.S; (6) unlawfully expelling him

   from school and thereby denying Plaintiff John his right to education while refusing to

   discipline Defendant Jane Doe for her acts of sexual harassment and gender based

   misconduct against Plaintiff John Doe; and (7) defaming Plaintiff John Doe’s character

   by expelling him from school on false allegations of sexual harassment.

202. As a result of the foregoing, Plaintiffs are entitled to damages for past acts of gender

   based harassment, discrimination based on gender and ethnic background in an amount to

   be determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.



                                    COUNT FOUR
                  Violation of New York Civil Rights Law Section 40-C
            (As to Defendant Riverdale Country School, Dominic A.A.
         Randolph, Kelley Nicholson-Flynn, Julie Choi, and Miguel Torres)

203. The allegations set forth in paragraphs 1-202 are repeated and incorporated as if fully set

   forth herein.

204. New York Civil Rights Law section 40-c provides:

       1. All persons within the jurisdiction of this state shall be entitled to the equal

           protection of the laws of this state or any subdivision thereof.

       2. No person shall, because of race, creed, color, national origin, sex, marital status,

           sexual orientation or disability, as such term is defined in section two hundred
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           ninety-two of the executive law, be subjected to any discrimination in his or her

           civil rights, or to any harassment, as defined in section 240.25 of the penal law, in

           the exercise thereof, by any other person or by any firm, corporation or institution,

           or by the state or any agency or subdivision of the state.

205. Defendant Riverdale Country School and its employees, Defendants Randolph,

   Nicholson-Flynn, and Choi, and Torres, in violation of New York Civil Rights Law

   section 40-c, intentionally and purposely discriminated against Plaintiff John Doe on the

   basis of his male sex gender by: (1) falsely accusing Plaintiff John Doe

                                     (2) notifying the NYPD of the allegations yet failing to

   accept the police department's findings that

                          (3) operating under an unjust and irrational belief that because

   Plaintiff John Doe is a male and Defendant Jane Doe is a female, Plaintiff John Doe must

   be the offender even though evidence showed otherwise; (4) fabricating false



                                                          (5) telling Plaintiff John Doe and

   Plaintiff           that          forms of expression are not acceptable in the U.S; (6)

   unlawfully expelling him from school and thereby denying Plaintiff John his right to

   education while refusing to discipline Defendant Jane Doe for her acts of sexual

   harassment and gender based misconduct against Plaintiff John Doe; and (7) defaming

   Plaintiff John Doe’s character by expelling him from school on false allegations of sexual

   harassment.

206. As a result of the foregoing, Plaintiffs are entitled to damages for past acts of gender

   based harassment, discrimination based on gender and ethnic background in an amount to



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   be determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.



                                     COUNT FIVE
                                   Breach of Contract
                (As to Defendant Riverdale Country School, Dominic A.A.
             Randolph, Kelley Nicholson-Flynn, Julie Choi, and Miguel Torres)

207. The allegations set forth in paragraphs 1-206 are repeated and incorporated as if fully set

   forth herein.

208. Based on the aforementioned facts and circumstances, Defendant Riverdale Country

   School, by and through Defendants Randolph, Nicholson-Flynn, Choi, and Torres,

   breached express and/or implied agreement(s) with Plaintiffs.

209. Plaintiffs entered into a contract with Defendant Riverdale Country School on February

   14, 2017 for the academic year of 2017-2018, for the costs of $52,050. Plaintiffs paid the

   deposit of $7,500 and the tuition pursuant to the timeline of payments per the contract.

210. By entering into an expressed contract with Plaintiffs, Defendant Riverdale Country

   School agreed to conduct business pursuant to the policies and procedures outlined in the

   Riverdale Country School Family Handbook.

211. Defendants Riverdale Country School and its employees, Defendant Randolph,

   Nicholson-Flynn, Choi, and Torres committed several breaches of its agreement with

   Plaintiffs, including, without limitation:

       ● “The School seeks diversity in its faculty, staff, and student body. In admissions

           and employment policies and practices, in financial aid and loan programs, and in

           all its educational programs, Riverdale does not discriminate on the basis of sex,

           race, color, religion, ethnic origin, or sexual orientation.” Handbook at cover

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     page.

  ● “The school is a community of individuals who have diverse beliefs, feelings, and

     habits. It thrives in direct relation to the concern of individual members for each

     other and for the community itself. The school has a responsibility to provide for

     all its members a healthy environment in which to live and work. The individual

     members have a responsibility to uphold the rules of the school.” Handbook at 14.

  ● “Riverdale prohibits any and all forms of discriminatory practices, including but

     not limited to harassment based on race, color, religion, sex, gender, gender

     identity or expression, sexual orientation, age, national origin, marital status,

     disability, military status or any other category protected by law.” Handbook at

     15.

  ● “No student shall be subjected to harassment/bullying by employees, other

     students, or other adults.” Id.

  ● “Acts of harassment and bullying shall include, but not be limited to, those acts

     based on a person’s actual or perceived race, color, weight, national origin, ethnic

     group, religion, religious practice, disability, sexual orientation, gender or sex.

     Prohibited conduct includes but is not limited to: epithets, slurs, jokes or negative

     stereotyping that relate to any of the categories above.” Id.

  ● “Harassment/bullying includes sexual harassment. Sexual harassment may

     include unwelcome sexual advances, requests for sexual favors, and other verbal

     or physical conduct of sexual nature.” Id at 16.

  ● “The School will take prompt, reasonable action to prevent, investigate, and

     remedy harassment/bullying.” Id at 16.



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       ● “Upon receipt of a complaint of harassment/bullying, the School will promptly

          investigate the complaint. The investigation may include interviews of the

          complainant, the alleged offender, and other. It may also include other methods,

          such as utilizing outside counsel or an independently appointed investigation firm.

          In addition, other investigation measures, including but not limited to, viewing

          emails, text messages, photographs, and social media pages or apps may be

          employed. The school will try to be as discreet as possible during an investigation

          and confidentiality will be maintained to the extent possible given the facts and

          circumstances of the complaint and the need to do a fair and thorough

          investigation.” Id. at 17.

212. Defendant Riverdale Country School and its employees, Defendant Randolph,

   Nicholson-Flynn, Choi, and Torres breached the contract with Plaintiffs by: (1) falsely

   accusing Plaintiff John Doe of                                           (2) notifying the

   NYPD of the allegations yet failing to accept the police department's findings that

   Plaintiff John Doe did not                                       (3) operating under an

   unjust and irrational belief that because Plaintiff John Doe is a male and Defendant Jane

   Doe is a female, Plaintiff John Doe must be the offender even though evidence showed

   otherwise; (4)



   (5) telling Plaintiff John Doe and Plaintiff         that          forms of expression are

   not acceptable in the U.S; (6) unlawfully expelling him from school and thereby denying

   Plaintiff John his right to education while refusing to discipline Defendant Jane Doe for

   her acts of sexual harassment and gender based misconduct against Plaintiff John Doe;



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   and (7) defaming Plaintiff John Doe’s character by expelling him from school on false

   allegations of sexual harassment.

213. As a direct and foreseeable consequence of these breaches, Plaintiffs sustained

   tremendous damages, including, without limitation, emotional distress, loss of

   educational and athletic opportunities, economic injuries and other direct consequential

   damages.

214. Plaintiffs are entitled to recover damages for Defendant Riverdale Country School’s

   breach of the express and/or implied contractual obligations described above.

215. As a direct and proximate result of the above conduct, actions, and inactions, Plaintiffs

   have suffered physical, psychological, emotional and reputational damages, economic

   injuries and the loss of educational and athletic opportunities.

216. As a result of the foregoing, Plaintiffs are entitled to damages in an amount to be

   determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.



                                     COUNT SIX
                   Breach of Covenant of Good Faith and Fair Dealing
            (As to Defendant Riverdale Country School, Dominic A.A.
         Randolph, Kelley Nicholson-Flynn, Julie Choi, and Miguel Torres)

217. The allegations set forth in paragraphs 1-216 are repeated and incorporated as if fully set

   forth herein.

218. Based on the aforementioned facts and circumstances, Defendant Riverdale Country

   School, by and through Defendants Randolph, Nicholson-Flynn, Choi, and Torres,

   violated the covenant of good faith and fair dealing in the agreement(s) with Plaintiffs by

   discriminating against Plaintiff John Doe on the basis of gender and ethnic background

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   by falsely accusing him of                 and demeaning his             culture.

219. Defendants Riverdale Country School and its employees Defendants Randolph,

   Nicholson-Flynn, Choi, and Torres further violated the covenant of good faith and fair

   dealing implied in the agreement(s) by expelling Plaintiff John Doe, without providing

   him a fair and full investigation, from Riverdale Country School, notwithstanding the

   NYPD police report and additional evidence Plaintiff’s counsel submitted to the school

   which together conclusively proved that the allegations made against Plaintiff John Doe

   were wholly fabricated.

220. As a direct and foreseeable consequence to these breaches, Plaintiffs sustained

   tremendous damages, including, without limitation, emotional distress, psychological

   damages, loss of educational and athletic opportunities, economic injuries and other

   direct and consequential damages.

221. Plaintiffs are entitled to recover damages for Defendant Riverdale Country School’s

   breach of express and/or implied contractual obligations described above.

222. As a result of the foregoing, Plaintiffs are entitled to damages in an amount to be

   determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.



                                    COUNT SEVEN
    Violation of New York Business Law § 349(a) - Unfair or Deceptive Trade Practices
             (As to Defendant Riverdale Country School, Dominic A.A.
         Randolph, Kelley Nicholson-Flynn, Julie Choi, and Miguel Torres)

223. The allegations set forth in paragraphs 1-222 are repeated and incorporated as if fully set

   forth herein.

224. New York General Business Law, Section 349(a), provides consumer protection by

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   declaring as unlawful “deceptive acts and practices in the conduct of any business, trade

   or commerce or in furnishing any service in this state.”

225. Defendant Riverdale Country School’s Handbook states:

       ● “The school is a community of individuals who have diverse beliefs, feelings, and

          habits. It thrives in direct relation to the concern of individual members for each

          other and for the community itself. The school has a responsibility to provide for

          all its members a healthy environment in which to live and work.” Id. at 14.

       ● “Riverdale prohibits any and all forms of discriminatory practices, including but

          not limited to harassment based on race, color, religion, sex, gender, gender

          identity or expression, sexual orientation, age, national origin, marital status,

          disability, military status or any other category protected by law.” Id. at 15.

       ● “No student shall be subjected to harassment/bullying by employees, other

          students, or other adults.” Id.

       ● “Acts of harassment and bullying shall include, but not be limited to, those acts

          based on a person’s actual or perceived race, color, weight, national origin, ethnic

          group, religion, religious practice, disability, sexual orientation, gender or sex.

          Prohibited conduct includes but is not limited to: epithets, slurs, jokes or negative

          stereotyping that relate to any of the categories above.” Id.

       ● “The School will take prompt, reasonable action to prevent, investigate, and

          remedy harassment/bullying.” Id at 16.

       ● “Upon receipt of a complaint of harassment/bullying, the School will promptly

          investigate the complaint. The investigation may include interviews of the

          complainant, the alleged offender, and other. It may also include other methods,



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          such as utilizing outside counsel or an independently appointed investigation firm.

          In addition, other investigation measures, including but not limited to, viewing

          emails, text messages, photographs, and social media pages or apps may be

          employed. The school will try to be as discreet as possible during an investigation

          and confidentiality will be maintained to the extent possible given the facts and

          circumstances of the complaint and the need to do a fair and thorough

          investigation.” Id. at 17.

226. Defendant Riverdale Country School, by and through, Defendants Randolph, Nicholson-

   Flynn, Choi, and Torres have engaged in the following acts or practices, that are

   deceptive or misleading, or committed deceptive acts or practices, which were aimed at

   the consumer public at large, that were a representation or omission likely to mislead a

   reasonable consumer acting reasonable under the circumstances:

       1. By causing Plaintiffs to reasonably believe that Defendant Riverdale Country

          School would follow its own policies, and procedures, of which copies were

          provided to Plaintiffs and are available on Defendant Riverdale Country School’s

          website; and

       2. By causing Plaintiffs to believe that if they paid tuition and fees to Defendant

          Riverdale Country School, that Defendant Riverdale Country School and its

          employees including, but not limited to, Defendants Randolph, Nicholson-Flynn,

          Choi, and Torres, would uphold its obligations, covenants and warranties to

          Plaintiffs described in its policies.

227. Defendants Riverdale Country School, through its employees, Defendant Randolph,

   Nicholson-Flynn, Choi, and Torres had no intention of following Defendant Riverdale



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   Country School’s policies and procedures when they intentionally pursued fabricated

                  allegations against Plaintiff John Doe to the point where they reached an

   arbitrary and capricious decision of unlawfully expelling Plaintiff John Doe.

228. Defendant Riverdale Country School stated mission together with its policies and

   procedures lead a reasonable person to believe that the school fosters a diverse learning

   environment with no tolerance for discrimination and harassment, and in the event that a

   student experiences harassment or discrimination, the school will take swift yet fair and

   balanced action to remedy the situation. However, Defendant Riverdale Country School

   together with Defendants Randolph, Nicholson-Flynn, Choi, and Torres circumvented the

   policies and procedures of Riverdale Country School by harassing and discriminating

   against Plaintiff John Doe on the basis of his male gender and ethnic background and

   then reached an arbitrary and capricious decision of wrongfully expelling him.

229. Based on the foregoing facts and circumstances, Defendant Riverdale Country School

   and its employees, Defendants Randolph, Nicholson-Flynn, Choi, and Torres engaged in

   unfair or deceptive trade practices in violation of Section 349(ca) of the New York

   General Business Law.

230. As a result of Defendant Riverdale Country School and its employees, Defendants

   Randolph, Nicholson-Flynn, Choi, and Torres, Plaintiffs sustained tremendous damages

   including, without limitation, emotional distress, psychological damages, loss of

   educational and athletic opportunities, economic injuries and other direct and

   consequential damages.

231. As a result of the foregoing, Plaintiffs are entitled to damages in an amount to be

   determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and



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   disbursements.



                                    COUNT EIGHT
                                 Estoppel and Reliance
            (As to Defendant Riverdale Country School, Dominic A.A.
         Randolph, Kelley Nicholson-Flynn, Julie Choi, and Miguel Torres)

232. The allegations set forth in paragraphs 1-231 are repeated and incorporated as if fully set

   forth herein.

233. Defendant Riverdale Country School’s various policies constitute representations and

   promises that Defendant Riverdale Country School, and its employees, Defendants

   Randolph, Nicholson-Flynn, Choi, and Torres should have reasonably expected to induce

   action or forbearance by Plaintiffs.

234. Defendant Riverdale Country School and its employees, Defendants Randolph,

   Nicholson-Flynn, Choi, and Torres expected or should have expected Plaintiffs to accept

   its offer of admission, incur tuition and fees expense, and choose not to attend another

   high school based on its express and implied promises that Defendant Riverdale Country

   School would not tolerate, and Plaintiff John Doe would not suffer, gender based

   harassment and discrimination and ethnic discrimination by other students or employees

   of Defendant Riverdale Country School.

235. On the contrary, Defendant Riverdale Country School, by and through its employees,

   Defendants Randolph, Nicholson-Flynn, Choi, and Torres harassed and discriminated

   Plaintiff John Doe on the basis of his gender and ethnic background by: (1) falsely

   accusing Plaintiff John Doe of                                             (2) notifying the

   NYPD of the allegations yet failing to accept the police department's findings that

   Plaintiff John Doe did not                                         (3) operating under an

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   unjust and irrational belief that because Plaintiff John Doe is a male and Defendant Jane

   Doe is a female, Plaintiff John Doe must be the offender even though evidence showed

   otherwise; (4) fabricating false                             against Plaintiff John in order to

   uphold their discriminatory view that he was the guilty party simply because he is a male;

   (5) telling Plaintiff John Doe and Plaintiff          that            forms of expression are

   not acceptable in the U.S; (6) unlawfully expelling him from school and thereby denying

   Plaintiff John his right to education while refusing to discipline Defendant Jane Doe for

   her acts of sexual harassment and gender based misconduct against Plaintiff John Doe;

   and (7) defaming Plaintiff John Doe’s character by expelling him from school on false

   allegations of sexual harassment.

236. Plaintiffs relied to their detriment on these express and implied promises and

   representations made by Defendant Riverdale Country School and its employees,

   Defendants Randolph, Nicholson-Flynn, Choi, and Torres.

237. Based on the foregoing, Defendant Riverdale Country School and its employees,

   Defendants Randolph, Nicholson-Flynn, Choi, and Torres are liable to Plaintiffs based on

   the legal claim of estoppel.

238. As a direct and proximate result of the above conduct, Plaintiffs sustained substantial

   damages, including, without limitation, emotional distress, psychological damages, loss

   of educational and athletic opportunities, economic injuries and other direct and

   consequential damages.

239. As a result of the foregoing, Plaintiffs are entitled to damages in an amount to be

   determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.



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                                      COUNT NINE
                         Tortious Inducement of Breach of Contract
             (As to Defendants Michele Owens, Julie Choi, and Jane Doe)

240. The allegations set forth in paragraphs 1-239 are repeated and incorporated as if fully set

   forth herein.

241. The elements of Tortious Inducement of Breach of Contract constitute:(1) the existence

   of a contract between plaintiff and a third party; (2) defendant’s knowledge of the

   contract; (3) defendant’s intentional inducement of the third party to breach or otherwise

   render performance impossible; (4) damages to plaintiff. See Kronos, Inc. v. AVX Corp.,

   81 N.Y.2d 90 (N.Y. 1990).

242. Plaintiffs and Defendant Riverdale Country School possessed a valid contract when

   Defendants Owens, Choi, and Jane Doe induced breach of contract.

243. Defendant Owens had knowledge of the contract between Plaintiffs and Defendant

   Riverdale Country School because she is a licensed clinical psychologist who refers

   numerous students to Defendant Riverdale Country School as part of her non-profit

   organization. As such she knew or should have known that Plaintiff John Doe has a

   contract with Defendant Riverdale Country School similar to how Defendant Jane Doe

   has a contract with Riverdale Country School because signing a contract with Riverdale

   Country School is required in order to attend the school. Defendant Owens intentionally

   induced Defendant Riverdale Country School to breach their contract with Plaintiffs

   when

         Due to Defendant Owen’s unlawful inducement of breach of contract, Plaintiffs

   have suffered psychological damages, loss of educational and athletic opportunities,

   economic injuries, and other direct and consequential damages.



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244. Defendant Choi had knowledge of Plaintiffs’ contract with Riverdale Country School

   given that she is an employee of Riverdale Country School and is therefore aware of the

   policies and procedures of the school, namely that each student maintains a contractual

   agreement with the Riverdale Country School. Defendant Choi intentionally induced

   Defendant Riverdale Country School to breach the contract when she held a private

   meeting with Plaintiff John Doe and heavily pressured him to admit to

                                                                     After pressuring

   Plaintiff John Doe to admit to the specific incidents of conduct, Defendant Choi turned

   around and claimed that by admitting to that conduct Plaintiff John Doe had admitted to

   sexual harassment. Plaintiff John Doe made it very clear that he did not admit to sexual

   harassment, what he admitted to was consensual contact with Defendant Jane Doe.

   Defendant Choi misconstrued Plaintiff John Doe’s words and induced Defendant

   Riverdale Country School to breach its contract. Plaintiffs have suffered psychological

   damages, loss of educational and athletic opportunities, economic injuries, and other

   direct and consequential damages.

245. Defendant Jane Doe had knowledge of Plaintiffs’ contract with Riverdale Country

   School as she is a student at Riverdale Country school and is therefore familiar with the

   policies and procedures of the school, namely that each student maintains a contractual

   agreement with the Riverdale Country School. Defendant Jane Doe intentionally induced

   Plaintiff John Doe to breach or otherwise render performance of the contract with

   Defendant Riverdale Country School when she allegedly reported that

                                                           Due Defendant Jane Doe’s

   unlawful inducement of breach of contract, Plaintiffs have suffered psychological



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   damages, loss of educational and athletic opportunities, economic injuries, and other

   direct and consequential damages.

246. Plaintiffs are entitled to recover damages for Defendants Owens, Choi, and Jane Doe’s

   unlawful inducement of breach of contract breach between Plaintiffs and Defendant

   Riverdale Country School.

247. As a result of the foregoing, Plaintiffs are entitled to damages in an amount to be

   determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.



                                         COUNT TEN
                          Intentional Infliction of Emotional Distress
                                    (As to all Defendants)

248. The allegations set forth in paragraphs 1-247 are repeated and incorporated as if fully set

   forth herein.

249. Based on the foregoing facts and circumstances, Defendants each jointly and severally

   are liable for intentionally harassed and discriminated against Plaintiff John Doe on the

   basis of gender and ethnic background by fabricating false allegations that

                                    The false allegations that Defendants fabricated were

   reported to the NYPD which investigated Plaintiff John Doe and found that he did not

                                                         Despite the NYPD’s finding that the

                   allegations made against Plaintiff John Doe were unfounded, Defendants

   continued to prosecute Plaintiff John Doe for                 until Defendant Riverdale

   Country School through its employees, Defendants Randolph, Nicholson-Flynn, Choi,

   and Torres unlawfully made an arbitrary and capricious decision to expel Plaintiff John



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   Doe from Riverdale Country School.

250. Defendant Riverdale Country School and its employees, Defendant Randolph,

   Nicholson-Flynn, Choi, and Torres caused extreme and undue emotional distress on

   Plaintiffs. Plaintiffs were shocked to their core when they heard the allegations. During

   the meetings with the school, Plaintiffs           and John Doe’s disbelief about the

   allegations was clearly evident by the fact that they were dismayed and crying.

251. Plaintiff John Doe has been seeing a therapist to deal with the pain of being accused of

   such horrible actions. Plaintiff John Doe has been unable to sleep at night and has been

   depressed because of the false allegations Defendants made against him.

252. Plaintiffs have been humiliated in their community as people have been speaking about

   the allegations made against Plaintiff John Doe. The entire ordeal has been extremely

   traumatic to Plaintiffs.

253. The above actions and inactions by Defendant Riverdale Country School were so

   egregious and utterly intolerable that they caused extreme mental anguish, severe

   psychological emotional distress to Plaintiffs, as well as financial loss, humiliation, loss

   of reputation, and other damages.

254. As a direct and proximate result of the above-mentioned conduct, Plaintiffs sustained

   substantial damages, including, without limitation, emotional distress, loss of educational

   and athletic opportunities, economic injuries, and other direct and consequential

   damages.

255. As a result of the foregoing, Plaintiffs is entitled to damages in an amount to be

   determined at trial, plus prejudgment interest, attorneys’ fees, expense, costs and

   disbursements.



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                                   COUNT ELEVEN
                                       Negligence
            (As to Defendant Riverdale Country School, Dominic A.A.
         Randolph, Kelley Nicholson-Flynn, Julie Choi, and Miguel Torres)

256. The allegations set forth in paragraphs 1-255 are repeated and incorporated as if fully set

   forth herein.

257. Defendant Riverdale Country School and its employees Defendants Randolph,

   Nicholson-Flynn, Choi, and Torres owed a duty of care to Plaintiff John Doe as a high

   school student enrolled at Riverdale Country School. As faculty and staff at Riverdale

   Country School, a high school which is accredited by the New York State Association of

   Independent Schools, Defendants Randolph, Nicholson-Flynn, Choi, and Torres owed a

   duty of reasonable care to refrain from tortious acts against students as well as protect

   students from tortious acts by third parties.

258. Defendant Riverdale Country School and its employees, Defendants Randolph,

   Nicholson-Flynn, Choi, and Torres breached its duties to Plaintiff John Doe by: (1)

   failing to follow the policies and procedures in the Handbook; (2) failing to properly and

   thoroughly investigate the false allegations of

          (3) failing to close the investigation based on the NYPD’s findings; (3)

   misconstruing and fabricating allegations against Plaintiff John Doe in order to expel

   him; (4) failing to accept the evidence from parents and friends of Plaintiff John Doe; and

   (5) making an arbitrary and capricious decision to expel Plaintiff John Doe without

   giving him due process and ignoring the overwhelming evidence in the record.

259. Defendant Riverdale Country School and its employees, Defendants Randolph,

   Nicholson-Flynn, Choi, and Torres breach of their duty to properly provide due care to

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   Plaintiff John Doe and caused his unlawful expulsion. Defendants Riverdale Country

   School and its employees, Defendant Randolph, Nicholson-Flynn, Choi, and Torres

   negligently made a false report to the NYPD. When the NYPD concluded that the

   allegations made against Plaintiff John Doe were baseless, Defendant Riverdale Country

   School and its employees, Defendants Randolph, Nicholson-Flynn, and Choi continued

   to negligently pursue the fabricated allegations against Plaintiff John Doe. Defendant

   Riverdale Country School and its employees, Defendants Randolph, Nicholson-Flynn,

   and Choi negligently misconstrued Plaintiff John Doe’s words and unjustly disciplined

   him by expelling him based on false allegations of sexually harassment. But for

   Defendant Riverdale Country School and its employees, Defendants Randolph,

   Nicholson-Flynn, Choi, and Torres failure to not fabricate false allegations against

   Plaintiff John Doe and to not properly investigate and review all the pertinent evidence

   proving the allegations against Plaintiff John Doe were wholly fabricated, Plaintiff John

   would not have been expelled from Riverdale Country School.

260. As a direct and proximate result of the Defendant Riverdale Country School and its

   employees, Defendants Randolph, Nicholson-Flynn, Choi, and Torres, Plaintiffs

   sustained substantial damages, including, without limitation, emotional distress,

   psychological damages, loss of educational and athletic opportunities, economic injuries

   and other direct and consequential damages.

261. As a result of the foregoing Plaintiffs are entitled to damages in an amount to be

   determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.




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                                      COUNT TWELVE
                                 Defamation, Libel, and Slander
                                     (As to all Defendants)

262. The allegations set forth in paragraphs 1-261 are repeated and incorporated as if fully set

   forth herein.

263. Defamation as a rule is not actionable unless the plaintiff suffers special damages.

   However, the four established exceptions (“defamation per se” or “slander per se”)

   consists of statements: (1) charging plaintiff with a serious crime; (2) statements which

   tend to injure another in his or her trade, business or profession; (3) that plaintiff has a

   loathsome disease; or (iv)imputing sexual misconduct. See Liberman v. Gelstein, 80

   N.Y.2d 429 (N.Y. 1992).

264. The elements to common law defamation is: (1) a false statement purporting to be a fact;

   (2) publication or communication of that statement to a third person; (3) fault amounting

   to at least negligence; and (4) damages.

265. Defendants jointly and severally, and individually, defamed Plaintiff John Doe by

   knowingly, intentionally, willfully, and/or negligently communicating false allegations of

                   about Plaintiff which they knew or should have known to be false or

   misleading.

266. Defendants reported that Plaintiff John Doe

         These allegations were false and damaging. The NYPD then conducted an

   investigation and concluded that the allegations against Plaintiff John Doe were baseless.

   Defendant Riverdale Country School and its employees, Defendant Randolph,

   Nicholson-Flynn, and Choi continued to communicate those false allegations against

   Plaintiff John Doe. Defendant Riverdale Country School through its employees,



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                  constitutes a criminal act, the Head of the School or the Chair of the Board

                  of Trustees shall immediately report this determination to the appropriate

                  law enforcement authorities, which shall include the New York City

                  Police Department and the Bronx County District Attorney.” Id at 19.

271.



                                                                    Rather than properly

   investigate this serious allegation, Defendant Riverdale Country School and its

   employees, Defendants Randolph, Nicholson-Flynn, Choi, and Torres acted in concert,

   jointly and severally to report these false allegations to the NYPD.

272. The NYPD conducted a full investigation of the allegations made against Plaintiff John

   Doe and concluded the allegations were unfounded.

273. Defendants rejected the NYPD’s findings and proceeded to prosecute Plaintiff John Doe

   on the fabricated allegations of                               even though they had

   knowledge that the allegations were baseless.

274. Defendant Riverdale Country School and its employees Defendant Randolph,

   Nicholson-Flynn, Choi, and Torres failed to: (1) provide Plaintiff John Doe with a full

   and fair investigation; (2) accept the findings from the NYPD that the allegations made

   against Plaintiff John Doe were baseless; and (3) consider the additional evidence

   Plaintiff John Doe submitted proving his interactions with Defendant Jane Doe have

   always been consensual.

275. Based on the foregoing facts and circumstances, Defendants engaged the process of law

   with the intent to harm Plaintiff John Doe without justification. The acts and conduct of



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   Defendants were the direct and proximate cause of injury and damage to Plaintiffs and

   violated their statutory and common law rights as guaranteed by the laws and

   Constitution of the State of New York.

276. As a direct and proximate result of the Defendants’ gross abuse of process, Plaintiffs

   sustained substantial damages, including, without limitation, emotional distress,

   psychological damages, loss of educational and athletic opportunities, economic injuries

   and other direct and consequential damages.

277. As a result of the foregoing, Plaintiffs are entitled to damages in an amount to be

   determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.


                                      COUNT FOURTEEN
                                       False Imprisonment
                                   (As to Defendant Julie Choi)

278. The allegations set forth in paragraphs 1-277 are repeated and incorporated as if fully set

   forth herein.

279. False imprisonment is the unlawful restraint of a person against their will by an

   individual who does not have the legal authority or justification to do so. The common

   law elements of false imprisonment consist of: (1) willful detention; (2) the detention

   must be without consent; (3) the detention is unlawful.

280. On or about October 27, 2017, Defendant Choi removed Plaintiff John Doe from his

   class, confiscated his cell phone against his will and over his explicit protest, and

   instructed that he could not contact or speak with anyone, and made him sit in the nurse’s

   office. Plaintiff John Doe was not allowed to call his parents or speak to anyone else. He

   was instructed to sit still alone.

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281. Defendant Choi’s actions constitute false imprisonment as she did not have the legal

   authority to restrain Plaintiff John Doe without cause. Additionally, Defendant Choi did

   not give a reason for restraining Plaintiff John Doe nor did she allow him to make a

   single phone call.

282. As a direct and proximate result of the Defendant Choi’s false imprisonment, Plaintiffs

   sustained substantial damages, including, without limitation, emotional distress,

   psychological damages, and other direct and consequential damages.

283. As a result of the foregoing, Plaintiffs are entitled to damages in an amount to be

   determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.


                                       COUNT FIFTEEN
                                      Trespass to Chattels
                                  (As to Defendant Julie Choi)

284. The allegations set forth in paragraphs 1-283 are repeated and incorporated as if fully set

   forth herein.

285. Trespass to chattel is an intentional tort in common law that refers to a wrongful,

   intentional interference with the possession of a person’s property.

286. Proving trespass to chattels involve the following elements: (1) the plaintiff owns or has

   right to possess the personal property at issue; (2) the tortfeasor intentionally interfered

   with the plaintiff’s property; (3) the tortfeasor deprived the plaintiff of possession or use

   of the property at issue; and (4) the interference caused damages to the plaintiff.

287. On or about October 27, 2017, Defendant Choi removed Plaintiff John Doe from his

   class, confiscated his cell phone against his will and over his explicit protest, and

   instructed that he could not contact or speak with anyone, and made him sit in the nurse’s

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   office.

288. By confiscating Plaintiff John Doe’s phone over his explicit protest, Defendant Choi

   intentionally deprived Plaintiff John Doe of his personal property.

289. As a direct and proximate result of the Defendant Choi’s, Plaintiffs sustained substantial

   damages, including, without limitation, emotional distress, psychological damages, and

   other direct and consequential damages.

290. As a result of the foregoing, Plaintiffs are entitled to damages in an amount to be

   determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.


                                     COUNT SIXTEEN
                  New York Penal Law § 135.60 Coercion in the Second Degree
                 (As to Defendants Randolph, Nicholson-Flynn, and Julie Choi)

291. The allegations set forth in paragraphs 1-290 are repeated and incorporated as if fully set

   forth herein.

292. Under New York Penal Law § 135.60 Coercion in the Second Degree is, in relevant

   part:

             A person is guilty of coercion in the second degree when he or she compels or

             induces a person to engage in conduct which the latter has a legal right to abstain

             from engaging in, or to abstain from engaging in conduct in which he or she has a

             legal right to engage, or compels or induces a person to join a group, organization

             or criminal enterprise which such latter person has a right to abstain from joining,

             by means of instilling in him or her a fear that, if the demand is not complied

             with, the actor or another will: accuse some person of a crime or cause criminal

             charges to be instituted against him or her.

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293. A penal statute may give rise to an implied private right of action where (1) plaintiff is a

   member of a class for whose particular benefit the statute was enacted; (2) recognition of

   a private right of action would promote the legislative purpose; and (3) creation of such a

   right of action would be consistent with legislative scheme. See Niagara Mohawk Power

   Corp. v. Testone, 272 A.D. 2d 910 (N.Y. App. Div. 2000).

294. On or about November 6, 2017, Defendants Randolph, Nicholson-Flynn and Choi held a

   meeting at Riverdale Country School with Plaintiff John Doe and Plaintiff               .

295. After the initial meeting, Defendant Choi met with Plaintiff John Doe privately in her

   office, without the presence of Plaintiff John Doe’s mother, Plaintiff              In the

   private meeting, Defendant Choi coerced Plaintiff John Doe to admit to conduct between

   him and Defendant Jane Doe. Defendant Choi used the threat of severe disciplinary

   action to coerce Plaintiff John Doe to admit to the conduct the school officials had

   accused him of. Plaintiff John Doe was clear that the conduct was consensual, but

   Defendant Choi took Plaintiff John Doe’s words out of context. Plaintiff John Doe was

   very clear that



296. Defendants Randolph, Nicholson-Flynn, and Choi had a final meeting with Plaintiff

   John Doe and Plaintiff             and coerced Plaintiff John Doe to admit t

                          Plaintiff John Doe admitted to touching Defendant Jane Doe

   consensually                              but he made it clear it was consensual. Defendant

   Randolph, Nicholson-Flynn. After getting Plaintiff John Doe to admit that

                                        because they made it clear if he didn’t admit to that he

   would be expelled, Defendants Randolph, Nicholson-Flynn, and Choi then proceeded to



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   misconstrue Plaintiff John Doe’s words and claimed he sexually harassed Defendant Jane

   Doe. This tactic of coercion and deception was improper and unlawful by Defendants

   Randolph, Nicholson-Flynn, and Choi.

297. As a direct and proximate result of the Defendant Randolph, Nicholson-Flynn, and

   Choi’s coercion, Plaintiffs sustained substantial damages, including, without limitation,

   emotional distress, psychological damages, loss of educational and athletic opportunities,

   economic injuries and other direct and consequential damages.

298. As a result of the foregoing, Plaintiffs are entitled to damages in an amount to be

   determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

   disbursements.



                                  PRAYER FOR RELIEF

   WHEREFORE, the Plaintiffs request the Court to grant the following relief:

           A. Enjoin Riverdale Country School’s expulsion of Plaintiff John Doe;

           B. Order Riverdale to return Plaintiff John Doe to classes/Riverdale Country
              School forthwith;

           C. Order Riverdale Country School to provide Plaintiff John Doe one hour after
              school for the total the time he missed and provide access and instruction to
              work and assist him with catching up on his engineering project;

           D. Order Riverdale Country School to provide Plaintiff John Doe two months to
              catch up on any and all tests, homework, and current work in order to place
              him in the same position he was prior to being wrongfully excluded from
              school;

           E. Place a gag order on Riverdale Country School, its agents, employees, board
              members, staff, and affiliates from discussing any of the incidents regarding
              this matter involving Plaintiff John Doe;




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              F. Order that any interaction that Plaintiff John Doe have with Defendants
                 Randolph, Nicholson-Flynn, Choi, and Torres may be recorded for Plaintiff
                 John Doe’s protection from further retaliation;

              G. Compensatory damages;

              H. Punitive damages;

              I. As to all the causes of action, award Plaintiffs damages in the amount to be
                 determined at trial, including, without limitation, attorneys’ fees, expenses,
                 costs and disbursement; and

              J. As to all the causes of action, award Plaintiffs damages in the amount to be
                 determined at trial, including, without limitation, damages as to physical
                 wellbeing, emotional and psychological damages, damages to reputation, past
                 and future economic loss, loss of educational and athletic opportunities, loss
                 of future university and career prospects,

              K. Grant other such relief as the Court may deem just and proper.



Dated: January 2, 2018
                                                     By:    /s/Julie A. Goldberg, Esq. _
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